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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA

DALE YLITALO, et al.

                         Plaintiffs,

v.                                              Case No.: 2:24-cv-55-SPC-NPM

AUTOMATIC DATA PROCESSING,
INC., et al.

                         Defendants.


                    DISCLOSURE STATEMENT PURSUANT TO
           FEDERAL RULE OF CIVIL PROCEDURE 7.1 AND LOCAL RULE 3.03

        Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.03, Plaintiffs

Dale Ylitalo and R4 Construction, LLC, make the following disclosure(s).

     1. If the filer is a nongovernmental corporate party or a nongovernmental

        corporation that seeks to intervene, identify any parent corporation and any

        publicly held corporation owning 10% or more of its stock or state there is no

        such corporation:

        No such corporation.

     2. If this is an action in which jurisdiction is based on diversity under 28 U.S.C. §

        1332(a), name and identify the citizenship of every individual or entity whose

        citizenship is attributed to the filing party or intervenor: [To identify the
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         citizenship of a partnership, LLC, or other unincorporated entity, a party must

         list the citizenships of all members or partners of that entity. 1]0F




         Not applicable.

      3. Identify each person—including each lawyer, association, firm, partnership,

         corporation, limited liability company, subsidiary, conglomerate, affiliate,

         member, and other identifiable and related legal entity—that has or might have

         an interest in the outcome:

         Not applicable.

      4. Identify each entity with publicly traded shares or debt potentially affected by

         the outcome:

         Defendant Automatic Data Processing

      5. Identify each additional entity likely to actively participate, including in a

         bankruptcy proceeding the debtor and each member of the creditors’ committee:

         Not applicable

      6. Identify each person arguably eligible for restitution:

         Not applicable

         ☒      I certify that, except as disclosed, I am unaware of an actual or potential

conflict of interest affecting the district judge or the magistrate judge in this action, and



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  See Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th Cir.
2004). Where a member of the party is also an unincorporated entity, its members must also be
identified continuing on through however many layers of partners or members there may
be. See Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1220 (11th Cir. 2017); D.B.
Zwirn Special Opportunities Fund, L.P. v. Mehrotra, 661 F.3d 124, 125-27 (1st Cir. 2011).




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I will immediately notify the judge in writing within fourteen days after I know of a

conflict.

                                       Respectfully Submitted,

                                       PARRISH & GOODMAN, PLLC

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